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                         UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA (Allentown)

LARSENYER GREEN                              :
                                             :
                             Plaintiff,      :      NO.    5:19-cv-00056
                                             :
              v.                             :
                                             :
CLARK FILTER, INC.                           :      JURY TRIAL DEMANDED
                                             :
                             Defendant.      :

                                          STIPULATION

       AND NOW this ____________________ day of ____________________, 2019, it is

hereby STIPULATED and AGREED, by and between all pertinent parties, by and through their

undersigned counsel, that Plaintiff may respond to Defendant’s Motion to Dismiss, or file an

Amended Complaint, by March 13, 2019.


WEISBERG LAW                                        OGLETREE DEAKINS NASH SMOAK
                                                    & STEWART, P.C.


/s/ Matthew B. Weisberg                             /s/ K. Clark Whitney
Matthew B. Weisberg, Esquire                        K. Clark Whitney, Esquire
Attorney for Plaintiff                              Attorney for Defendant



       AND IT IS SO ORDERED.



                                                    ________________________________
                                                                                  ,J.
